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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

GLORIA MITCHELL, individually and on
behalf of all others similarly situated,

                       Plaintiff,                    Case No. 1:16-cv-00076-BLW

v.                                                   PLAINTIFF GLORIA MITCHELL’S
                                                     MOTION FOR LEAVE TO CONDUCT
WINCO FOODS, LLC, a Delaware limited                 DISCOVERY
liability company,

                       Defendant.


I.     Introduction

       This case challenging WinCo’s background check disclosure—now over three years

old—is still trapped at the pleadings stage. That is, the Parties entered a Stipulation back on June

30, 2016 to hold off on discovery while the Court decided WinCo’s Motion to Dismiss. Three

years and an appeal later Plaintiff believes that discovery should be opened so the case may

progress beyond the pleadings stage.
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II.       Background and Procedural History

          As the Court is aware, On November 29, 2018, the Ninth Circuit Court of Appeals

reversed the Court’s prior dismissal of the Complaint insofar as it found that Plaintiff should

have been granted leave to amend her Class Action Complaint to allege that she was confused by

Defendant WinCo Foods, LLC’s (“WinCo” or “Defendant”) Fair Credit Reporting Act, 15

U.S.C. § 1681 et seq. (“FCRA”) background check disclosure. (Dkts. 41-43.) Mitchell filed her

Amended Complaint (dkt. 46) on January 25, 2019, before the deadline set by this Court. (Dkt.

45.) Rather than answer, WinCo has moved to dismiss yet again—this time essentially seeking

summary judgment/judgment on the pleadings. As set forth more fully in Plaintiff’s

concurrently-filed Response in Opposition, WinCo’s latest motion to dismiss lacks merit and

should be denied.

          At issue for the purposes of the instant Motion, however, is the fact that discovery in this

case has essentially been frozen since June 30, 2016 through a Stipulation filed by the Parties

(dkt. 18.) Plaintiff’s counsel reached out to counsel for WinCo regarding proceeding with

discovery given the fact that years have passed. WinCo’s counsel responded that, “It is our

position that the matter should be stayed in the interests of judicial economy. There is no

credible evidence that a stay will adversely impact the availability of witnesses and evidence.”

(See “March 6, 2019, Email from R. Roskelley,” a true and accurate copy of which is attached as

Ex. A.)

          As set forth below, the Court should order that discovery is open and that Plaintiff is not

bound by the Stipulation filed June 30, 2016 (dkt. 18.) Discovery generally isn’t stayed simply

because a Motion to Dismiss has been filed, and here Defendant’s Motion to Dismiss stands little

chance of being granted because it ignores and mischaracterizes recent, on point decisions from




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the Ninth Circuit. Further, a delay merely increases the risks that witnesses’ memories will fade

and that evidence will otherwise become stale.

        This case needs to move past the pleadings. As such, and as set forth below, Plaintiff

respectfully requests that the Court enter an Order opening discovery.

III.    Argument

        The Court should open discovery in this case. First, the Court should find that there is no

stay in place. That is, although the Parties filed a Stipulation back on June 30, 2016, the Court

never actually signed the Stipulation or entered it as an Order. (Dkt. 18.) As such, the Court

should declare that no stay is in place.

        Second, WinCo “must make a ‘strong showing’ for a protective order staying discovery

to be issued and the Court must be ‘convinced’ that plaintiff will be unable to state a claim for

relief.” Idaho Tr. Bank v. BancInsure, Inc., No. 1:12-CV-032-REB, 2012 WL 12905646, at *1

(D. Idaho July 9, 2012) (“Additionally, the Court notes the importance of having cases proceed

in a timely manner without unnecessary delay.”) (citing Trzaska v. Int'l Game Tech., 2011 WL

1233928, at *3 (D. Nev. Mar. 29, 2011); Wood v. McEwen, 644 F.2d 797, 801 (9th Cir.

1981); Blankenship v. Hearst Corp., 519 F.2d 418, 429 (9th Cir. 1975)). WinCo cannot make

such a showing here. Its Motion to Dismiss seeks summary judgment and is likely to fail. There

is little basis for concluding that “plaintiff will be unable to state a claim for relief.” Recent Ninth

Circuit precedent, specifically Gilberg v. California Check Cashing Stores, LLC, shows

definitively that extraneous information in a consumer report disclosure—as is present in

WinCo’s form—violats the FCRA. 913 F.3d 1169, 1175 (9th Cir. 2019) (explaining that “Syed ’s

holding and statutory analysis were not limited to liability waivers; Syed considered the




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standalone requirement with regard to any surplusage.”) As such, WinCo cannot meet its burden

of showing a stay is necessary here due to Plaintiff’s inability to state a claim.

        Third, and notwithstanding the assertions of WinCo’s counsel to the contrary, a continued

delay here only serves to threaten Plaintiff’s ability to gather evidence in support of class

certification and her claims. This case has already been delayed for 3 years and it is an

unfortunate fact of life that witnesses’ memories fade over time. See e.g. Roule v. Petraeus, No.

C 10-04632 LB, 2012 WL 2367873, at *5 (N.D. Cal. June 21, 2012) (“Roule makes the

persuasive common-sense argument that memories fade and witnesses become unavailable over

time. Given the glacial pace of the case so far, further delays likely would harm Roule.”) One of

the issues in the present case concerns whether WinCo knowingly or recklessly violated the

FCRA. The witnesses who have such knowledge have never been identified and it is unclear if

the persons who made the original decisions are still employed by WinCo.

        As such, any further delay benefits WinCo at Mitchell’s expense.

IV.     Conclusion

        The Court should enter an Order indicating that discovery is open in this case. The Court

never signed the Stipulation filed in June 2016, WinCo hasn’t shown a stay is needed given the

supposed strength of its Motion to Dismiss, and continued delay simply makes the case harder to

prosecute for the Plaintiff.

        WHEREFORE, Plaintiff Mitchell respectfully requests that the Court enter an Order

opening discovery, requiring the Parties to hold a Rule 26(f) conference, and for such additional

relief as the Court deems necessary and just.

                   *              *               *               *                  *



                                       Respectfully Submitted,


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Dated: March 14, 2019        GLORIA MITCHELL, individually,
                             and on behalf of all others similarly situated,



                             By: /s/ Steven L. Woodrow

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                             *pro hac vice




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                                 CERTIFICATE OF SERVICE

       I am a resident of the State of Colorado, over the age of eighteen years old, and am not a

party to this lawsuit. My business address is 3900 E. Mexico Avenue, Suite 300, Denver,

Colorado 80210. I HEREBY CERTIFY that on the 14th day of March 2019, I filed the foregoing

MOTION FOR LEAVE TO CONDUCT DISCOVERY electronically through the CM/ECF

system, which caused the following parties or counsel to be served by electronic means, as more

fully reflected on the Notice of Electronic Filing:

                     Rick D. Roskelley, Attorney for Defendant WinCo Foods, LLC.

                         Mr. Roskelley’s email address is rroskelley@littler.com.

       I declare that the foregoing is true and correct.



                                                      /s/ Steven L. Woodrow




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